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AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 1



                                            UNITED STATES DISTRICT COURT
                                                            Southern District of Ohio
                                                                           )
                UNITED STA TES OF AMERICA
                                                                           )        JUDGMENT IN A CRIMINAL CASE
                                    V.                                     )
                            Kenny Harvey                                   )
                                                                           )        Case Number: 1:20cr021-1
                                                                           )        USM Number: 78840-061
                                                                           )
                                                                           )         Richard Goldberg, Esq.
                                                                           )        Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)             1 and 12 of the Indictment
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended
21 USC 841(a)(1),                  Conspiracy to Possess with Intent to Distribute and to                    11/26/2019
(b)(1 )(A)(vi),                     Distribute 400 Grams or More of a Detectable Amount of
(b)(1 )(A)(viii) & 846             Methamphetamine

       The defendant is sentenced as provided in pages 2 through                9          of thi s judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!ff Count(s)      2-11                                   Dis       ~ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenclant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                           11/9/2021



                                                                         ~
                                                                         Signature of Judge
                                                                                                      /,~
                                                                                     Michael R. Barrett, United States District Judge
                                                                         Name and Title of Judge



                                                                         ~1:i,lu;i.1
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                                            ADDITIONAL COUNTS OF CONVICTION

Title & Section                   Nature of Offense                                         Offense Ended        Count
21 USC 841 (a)(1 ),                Possession with Intent to Distribute 400 Grams or More    11 /26/2019         12

(b )( 1 )(A)(vi) & 18 USC 2        of a Detectable Amount of Fentanyl
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AO 2458 (Rev. 09/1 9) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

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 DEFENDANT: Kenny Harvey
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                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total tenn of:
Count 1 & 12: One hundred forty-eight (148) months on each Count to run concurrent.




      ~ The court makes the following recommendations to the Bureau of Prisons:
           The defendant be placed at a BOP facility nearest Cincinnati, Ohio that offers barber vocational training.
           The defendant shall participate in a vocational/education program while in the custody of the BOP.
           The defendant shall participate in 500 hours of drug treatment while in the custody of the BOP.


      ~ The defendant is remanded to the custody of the United States Marshal.


      0 The defendant shall surrender to the United States Marshal for this district:
           D at                                   0 a.m.      D   p.m.      on

           0 as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                       to

 at                                                , with a certi tied copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                         By
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                       Judgment- Page          of
DEFENDANT: Kenny Harvey
CASE NUMBER: 1:20cr021-1
                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a tern, of:

 Count 1 & 12: five (5) years on each Count to run concurrent.




                                                    MANDATORY CONDITIONS
I.    You must not commit another federal. state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             0 The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
4.     0 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check ifapplicahle)
5.     ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if app licahle)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check /( applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
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DEFENDANT: Kenny Harvey
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                                        ST AND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least l 0
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. lfyou know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the pem1ission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e .. anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the pennission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instrnctions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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                        Sheet 3B - Supervised Release
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DEFENDANT: Kenny Harvey
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                                       ADDITIONAL SUPERVISED RELEASE TERMS
 1.) The defendant shall participate in vocational training, unless the defendant is employed on a full-time basis, at the
 direction of his probation officer.

 2.) The defendant shall participate in drug treatment, at the direction of his probation officer. The defendant shall pay a
 co-pay for treatment not to exceed $25, based on his ability to pay, as determined by the probation officer.
           Case: 1:20-cr-00021-MRB Doc #: 123 Filed: 11/12/21 Page: 7 of 9 PAGEID #: 513
AO 2458 (Rev. 09/19)   Jud&'11'1ent in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties

                                                                                                        Judgme nt -   Page        7    of       9
 DEFENDANT: Kenny Harvey
 CASE NUMBER: 1:20cr021-1
                                                 CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment               Restitution                Fine                  AVAA Assessment*                 JVT A Assessment**
TOTALS            $    200.00               $                          $                     $                                $



 D The determination of restitution is deferred until                        . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is paid.

Name of Pavee                                                   Total Loss***                Restitution Ordered             Priority or Percentage




TOTALS                              $                           0.00              $                   0.00


D     Restitution amount ordered pursuant to plea agreement            $


D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     D the interest requirement is waived for the              D fine       D restitution.
     D the interest requirement for the            D    fine    D restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornograph_y Victim Assistance Act of2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters I09A, 110, 11OA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                                Judgment -   Page   8      of
 DEFENDANT: Kenny Harvey
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                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      ~    Lump sum payment of$           200.00                due immediately, balance due

            D      not later than                                     , or
            D      in accordance with D C,           D D,        D     E,or      D F below; or
B     D     Payment to begin immediately (may be combined with                • c,         D D, or      D F below); or

C     D Payment in equal                             (e.g., weekly, monthly, q11arterly) installments of $              over a period of
                            (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                         (e.g., weekly, monthly, q11arterly) installments of $              over a period of
                            (e.g.. months or years), to commence                     (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                  (e.g. , 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                      Joint and Several                Corresponding Payee,
      {inc/11di11g defendant numhe1)                       Total Amount                         Amount                           if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

~     The defendant shall forfeit the defendant' s interest in the following property to the United States:
      See page 9.


Payments shall be applied in the following order:(!) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (o) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and ( 10) costs, including cost of
prosecution and court costs.
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AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 68 - Schedule of Payments
                                                                                                Judgment- Page    of
DEFENDANT: Kenny Harvey
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                                             ADDITIONAL FORFEITED PROPERTY
   a.) A 2011 Dodge Durango, Ohio license plate HQV6767, VIN 1D4RE2GG9BC677236, with any attachments;

   b.) A 2014 Honda Accord, Ohio license plate HOC5487, VIN 1 HGCR2F37EA137231 , with any attachments;

   c.) A 2012           Honda      Accord,      Ohio      license   plate   GQE7158,   VIN 1 HGCP3F8XCA033904, with any
   attachments;

   d.) A Taurus .380 pistol, serial number I F099339, with any attachments and ammunition, including, but not limited to
   one magazine and six rounds of ammunition; and

   e.) An SCCY CPX2, 9mm pistol, serial number 400318, with any attachments and ammunition, including, but not limited
   to two magazines and 50 rounds of ammunition.
